                                                                                Case 3:08-cv-02912-JSW Document 334 Filed 07/08/11 Page 1 of 1



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   NUANCE COMMUNICATIONS, INC.,
                                                                         10                  Plaintiff,                                No. C 08-02912 JSW
                                                                         11     v.
United States District Court
                               For the Northern District of California




                                                                         12   ABBYY SOFTWARE HOUSE, ABBYY USA                          ORDER REFERRING CASE
                                                                              SOFTWARE HOUSE, INC., LEXMARK                            MANAGEMENT CONFERENCE
                                                                         13   INTERNATIONAL, INC., ABBYY                               TO SPECIAL MASTER
                                                                              SOFTWARE, LTD., and ABBYY
                                                                         14   PRODUCTION LLC.,
                                                                         15                  Defendants.
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                                                                                     The Court has reviewed the joint case management report following claim construction
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                                                                              and unfortunately notes that the parties are still unable to reach consensus on even the
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                                                                              management of the schedule in this matter. Accordingly, the Court refers the matter to Special
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                                                                              Master Meredith Martin Addy to conduct a conference with the parties in order to determine the
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                                                                              case schedule and shall either garner the parties’ stipulated proposed schedule or shall prepare a
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                                                                              report and recommendation for the management of this case. The proposal or report shall be
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                                                                              filed no later than August 5, 2011.
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                                                                                     IT IS SO ORDERED.
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                                                                              Dated: July 8, 2011
                                                                         26                                                            JEFFREY S. WHITE
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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